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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                                                       MDL NO. 2924
   PRODUCT LIABILITY                                                                 20-MD-2924
   LITIGATION
                                                             JUDGE ROBIN L. ROSENBERG
                                                    MAGISTRATE JUDGE BRUCE E.REINHART

                                         /

   This Document Relates to:

   Alexander Valdes, Case No. 9:23-CV-81560
   Edward Wilson, Case No. 9:24-CV-80045




                   PETITION OF PLAINTIFFS’ COUNSEL IN SUPPORT
                  OF ITS REQUEST FOR REASONABLE FEES AND COSTS


          Justin R. Parafinczuk hereby declares under penalty of perjury as follows:

          1.      I am over 18 years of age.

          2.      I am licensed to practice law in the State of Florida and am a managing partner in

   the law firm of Parafinczuk Wolf, P.A.

          3.      Pursuant to this Court’s Order Granting the Plaintiffs’ Motions to Remand, dated

   February 28, 2024, and Motion for Sanctions, Claimants submit this affidavit incorporating

   evidence of its reasonable fees and costs incurred in prosecuting the motion for remand.

          4.      Pursuant to Local Rule, 7.3(b), the parties have met and conferred in good faith in

   an attempt to resolve the dispute by agreement but were unable to resolve the issues. (See

   Certification of Good Faith, attached hereto).

          5.      Exhibit A comprises the attorneys’ fees related to time spent by attorneys

   prosecuting the Motion from beginning to end. These figures are drawn from contemporaneous
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   records of time. That amount is $84,762.50 for attorney fees.

          6.      Exhibit B is costs incurred, which includes the review by expert, Richard Diaz, as

   well as Lexis charges, totaling $15,208.89.

          7.      Exhibits C, D, E, F and G are affidavits supporting the veracity and accuracy of the

   time records set forth in Exhibit A.

          8.      The hourly rates set forth in Exhibit A apply only to work performed to prosecute

   Plaintiff’s Motion in this action and are not representative of Plaintiffs’ counsels’ hourly rates in

   other litigation contexts, including but not limited to nationwide mass tort actions and class actions.

          9.      The hourly rates set forth in Exhibit A are appropriate in light of the average

   attorney rates in the South Florida area who practice mass torts and personal injury law in the

   Southeastern United States.

          10.     Exhibit H is the “Firm Resume” for the law firm of Parafinczuk Wolf, P.A., which

   includes a collection of attorney biographies.

          11.     Exhibit I is the Affidavit of Richard Diaz in support of the reasonableness of the

   attorney fee rates set forth in Exhibit A.

          12.     Plaintiffs’ counsel respectfully requests the opportunity to supplement this record

   should any additional invoices containing costs attributable to the Motion are provided to counsel.

          13.     The total amount of the attorney’s fees and costs submitted is $99,971.39.

          I declare under penalty of perjury under the laws of the United States of America that the

   foregoing is true and correct.




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                                 CERTIFICATION OF GOOD FAITH
           The undersigned certifies that the parties have met and conferred in a good faith effort to

   resolve the issues that are the subject hereof prior to filing this Petition.



           Executed on the 26th day of April, 2024.


                                                   /s/ Justin Parafinczuk
                                                   JUSTIN PARAFINCZUK
                                                   Fla. Bar No. 39898
                                                   Board Certified Civil Trial Attorney
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